






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00472-CV






City of Austin, Appellant


v.


Ronnie Esparza, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. D-1-GN-05-000132, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N

		

		On August 10, 2012, the court issued opinions and judgment in this appeal.  On
September 7, 2012, appellant the City of Austin filed an unopposed motion to extend time to file
motion for rehearing.  On September 17, 2012, the parties filed a joint motion to dismiss the appeal. 
They state that they have finalized a settlement agreement that resolves all issues in dispute in this
appeal.  Accordingly, we grant the parties' joint motion to dismiss, withdraw the court's opinions
and judgment dated August 10, 2012, and dismiss the appeal.  See Tex. R. App. P. 42.1(a), (c). 
Appellant's motion to extend time to file motion for rehearing is dismissed as moot.


					__________________________________________

					Melissa Goodwin, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed on Joint Motion

Filed:   September 20, 2012


